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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


IN RE: VOLKSWAGEN GROUP OF             Master File No. 2:21-cv-13049-JMV-JBC
AMERICA, INC. DATA BREACH
LITIGATION



             CONSOLIDATED CLASS ACTION COMPLAINT
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      Plaintiffs John Hajny (“Hajny”), Ricardo Villalobos (“Villalobos”), Anthony

Service (“Service”) and Jeremy Adams (“Adams”) (collectively, “Plaintiffs”), on

behalf of themselves and all others similarly situated, upon personal knowledge of

the facts pertaining to them and on information and belief as to all other matters,

allege the following against Defendants Volkswagen Group of America, Inc.

(“VGoA”), Audi of America, LLC (“Audi”), and Sanctus, LLC d/b/a Shift Digital

(“Shift Digital”) (collectively, “Defendants”).

                            NATURE OF THE CASE

      1.     In a recent Executive Order, President Joe Biden reaffirmed that “[t]he

United States faces persistent and increasingly sophisticated malicious cyber

campaigns that threaten the public sector, the private sector, and ultimately the

American people’s security and privacy.”1 Among other things, the Order noted:

      The private sector must adapt to the continuously changing threat
      environment, ensure its products are built and operate securely, and
      partner with the Federal Government to foster a more secure
      cyberspace. In the end, the trust we place in our digital infrastructure
      should be proportional to how trustworthy and transparent that
      infrastructure is, and to the consequences we will incur if that trust is
      misplaced.2

      2.      Plaintiffs bring this class action against Defendants for their failure to



1
       https://www.whitehouse.gov/briefing-room/presidential-
actions/2021/05/12/executive-order-on-improving-the-nations-cybersecurity/ (last
visited Oct. 13, 2021).
2
       Id.
                                          2
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properly secure and safeguard personally identifiable information that Plaintiffs

entrusted to Defendants. Unfortunately, Defendants violated that trust, leaving

Plaintiffs and the putative Class to suffer the consequences. Here, 3.3 million

persons had their sensitive personally identifiable information (“PII”)3 stolen from

Defendants by computer hackers in a cyber-attack (the “Data Breach”). The

information compromised in the Data Breach includes name, mailing address, email

address, phone number, information about a vehicle purchased, leased, or inquired

about, including the Vehicle Identification Number (“VIN”), make, model, year,

color, and trim and, in some instances, buyers’ or interested parties’ driver’s license

numbers, Social Security numbers, account or loan numbers, and tax identification

numbers.4

      3.      A memo to VGoA dealers identified Shift Digital as being involved in

the Data Breach impacting more than 3.3 million customers and prospective buyers,

primarily at Audi. Shift Digital is used by Audi, Volkswagen, and some authorized


3
       PII generally incorporates information that can be used to distinguish or trace
an individual’s identity, either alone or when combined with other personal or
identifying information. 2 CFR § 200.79. At a minimum, it includes all information
that on its face expressly identifies an individual. PII is also generally defined to
include certain identifiers that do not on their face name an individual, but that are
considered to be particularly sensitive and/or valuable if in the wrong hands (for
example, Social Security number, passport number, driver’s license number,
financial account number).
4
       See
https://oag.ca.gov/system/files/Audi%20Notification%20Letter%20Template.pdf
(last visited October 13, 2021).
                                          3
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dealers in the United States and Canada. According to VGoA, Shift Digital left

unsecured an electronic file containing PII, gathered for sales and marketing between

2014 and 2019.5

         4.     Plaintiffs Hajny, Villalobos, Service and Adams bring this class action

lawsuit on behalf of a Nationwide Class and a California Sub-Class (together, the

“Class”) to address Defendants’ inadequate safeguarding of class members’ PII.

          5.    Armed with the PII accessed in the Data Breach, data thieves can

    commit numerous crimes including opening new financial accounts in Class

    members’ names, taking out loans in Class members’ names, using Class members’

    names to obtain medical services, using Class members’ information to obtain

    government benefits, filing fraudulent tax returns using Class members’

    information, obtaining driver’s licenses in Class members’ names but with another

    person’s photograph, and giving false information to police during an arrest.

          6.    Indeed, news outlets are already reporting that the information stolen

    in the Data Breach is being sold on well-known hacking forums.6 This shows the


5
       See Larry P. Vellequette, Vendor linked to VW data breach named in memo
to       dealers,      AUTOMOTIVE          NEWS       (June       11,      2021),
https://www.autonews.com/technology/vendor-linked-vw-data-breach-named-
memo-dealers (last visited October 13, 2021).
6
       See, e.g., Lorenzo Fracheschi-Bicchierai, Hackers Are Selling Data Stolen
From Audi and Volkswagen, MOTHERBOARD, TECH BY VICE (June 17, 2021),
https://www.vice.com/en/article/xgxaq4/hackers-are-selling-data-stolen-from-audi-
and-volkswagen (last visited October 13, 2021); Lawrence Abrams, Audi,
Volkswagen customer data being sold on hacking forum, BLEEPING COMPUTER (June
                                            4
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 clear value of the stolen data to identity thieves and the imminent peril faced by

 Plaintiffs and the members of the Class.

       7.     As a result of the Data Breach, Plaintiffs and Class members have been

 exposed to a present and continuing risk of fraud and identity theft. Plaintiffs and

 Class members must now and in the future closely monitor their financial accounts

 to guard against identity theft.

       8.     Plaintiffs and Class members will also incur out-of-pocket costs for

 things such as paying for credit monitoring services, credit freezes, credit reports,

 or other protective measures to deter and detect identity theft.

       9.     Plaintiffs seek to remedy these harms on behalf of themselves and all

 similarly-situated individuals whose PII was accessed during the Data Breach.

       10.    Plaintiffs and the Class request remedies including damages,

 reimbursement of out-of-pocket costs, and equitable and injunctive relief, including

 improvements to Defendants’ data security systems, future annual audits, and ID

 protection services funded by Defendants.

                                     PARTIES

      11.     Plaintiff John Hajny is resident of the state of California. He has leased

at least six Audi vehicles since 2014 from various California Audi dealerships. Mr.



17, 2021), https://www.bleepingcomputer.com/news/security/audi-volkswagen-
customer-data-being-sold-on-a-hacking-forum/ (last visited October 13, 2021).
                                            5
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Hajny received a Notice of Data Security Incident from Defendants on or about June

15, 2021.

        12.   Plaintiff Ricardo Villalobos is resident of the state of California. He

has owned or leased three Audi vehicles since 2017. Mr. Villalobos received a

Notice of Security Incident from Defendants on or about June 11, 2021.

        13.   Plaintiff Anthony Service is a resident of the State of Florida. He

purchased an Audi vehicle from a dealership in Florida in 2015, has test-driven

several Audi vehicles at Audi dealerships and rented vehicles from Silvercar by Audi

on several occasions. Mr. Service received a Notice of Data Breach dated June 11,

2021.

        14.   Plaintiff Jeremy Adams is a resident of the State of South Carolina. He

purchased an Audi vehicle in Florida in 2017. Mr. Adams received a Notice of

Security Incident from Defendants by email on or about June 20, 2021.

        15.   Defendant Volkswagen Group of America, Inc. (“VGoA”) is a

corporation incorporated in New Jersey with its principal place of business in

Herndon, Virginia. Defendant VGoA is the North American subsidiary of

Volkswagen AG.

        16.   Defendant Audi of America, LLC (“Audi”) is a registered trade name

of VGoA and has its principal place of business in Herndon, Virginia.

        17.   Defendant Sanctus, LLC d/b/a Shift Digital (“Shift Digital”) is a


                                         6
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Michigan limited liability company headquartered in Birmingham, Michigan. Shift

Digital claims to have invented “digital marketing program optimization” and its

website touts its “data omniscience.” It is “the leader in digital marketing program

optimization.”7   At the time of the Data Breach, Shift Digital worked with

Defendants VWoA and Audi on marketing.

                         JURISDICTION AND VENUE

      18.     This Court has subject matter jurisdiction under the Class Action

Fairness Act, 28 U.S.C. § 1332(d) because this is a class action involving more than

100 class members, the amount in controversy exceeds $5 million exclusive of

interest and costs, and many members of the class are citizens of states different from

Defendants.

      19.     This Court has personal jurisdiction over Defendants because

Defendants conduct business in and throughout New Jersey, and the wrongful acts

alleged in this Complaint were committed in New Jersey, among other venues.

      20.     Venue is proper in this District pursuant to 28 U.S.C.

§ 1391(b)(2) because a substantial part of the events giving rise to Plaintiffs’ claims

occurred in this District. Venue is also proper pursuant to 28 U.S.C.

§ 1391(b)(1) because Defendant VGoA is incorporated in this District and all

Defendants regularly transact business here. Further, venue is proper under 28


7
      https://www.shiftdigital.com/company/ (last visited October 13, 2021).
                                          7
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U.S.C. § 1391(b)(3) because all Defendants are subject to personal jurisdiction in

this District.

                            FACTUAL ALLEGATIONS

       21.       Defendant VWoA is the North American subsidiary of Volkswagen

AG, a German-based manufacturer of cars and other vehicles worldwide. Audi is a

trademark of VWoA and a well-known brand of luxury cars. Shift Digital provides

VWoA and Audi with marketing tools, data management, and other functions.

       22.       Defendants sell and market Volkswagen and Audi vehicles in the

United States. Defendant Shift Digital helps deploy and manage marketing

programs; its technology was initially developed to meet the needs of the automotive

industry and has more recently evolved to serve clients in other industries such as

power sports, home building, and healthcare. As a part of the automobile sales and

marketing process, Defendants collect various types of PII from customers and

potential customers, including name, mailing address, email address, phone number,

and information about a vehicle purchased, leased, or inquired about including the

VIN, make, model, year, color, and trim. In the event the buyer or potential buyer

purchases the vehicle or applies to Defendants for financing, Defendants also collect

the buyers’ or interested parties’ driver’s license numbers, Social Security numbers,

account or loan numbers, and tax identification numbers.

       23.       In addition to storing this information themselves, Defendants also


                                           8
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provide it to third party vendors for sales and marketing purposes.

         24.    From 2014 through 2019, Defendants collected the PII of

approximately 3.3 million U.S.-based customers. Roughly 90,000 of those

customers provided their driver’s license numbers, Social Security numbers, account

or loan numbers, or tax identification numbers.

         25.    While Defendants are more than happy to monetize that information,

and despite the very sensitive nature of that information and the clear potential for

misuse, Defendants left that data stored unsecured for two years.

         26.    In early March 2021, Defendants were informed that unauthorized

third parties had gained access to this PII. Following an investigation, in May 2021,

Defendants confirmed the PII was unsecured and that it had been stolen by cyber

thieves.

         27.    On or about June 11, 2021, Defendants VWoA and Audi began

notifying affected customers and state attorneys general about the breach and data

theft.

         28.    Just a few days later, the information stolen in the Data Breach showed

up for sale on well-known hacking forums.8

Plaintiff Hajny

         29.   To lease his Audi vehicles, Plaintiff Hajny was required by Defendants


8
         Fracheschi-Bicchierai & Abrams, supra, note 6.
                                           9
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to provide his PII, including his full name, driver’s license number, Social Security

number, e-mail address, telephone numbers, date of birth, bank account numbers,

and other sensitive information, including employer name, names and contact

information of relatives and personal references, and insurance information. He

provided this PII to Defendants with the understanding that his PII would be

protected, maintained, and safeguarded from unauthorized use or disclosure, and that

he would be timely notified of any unauthorized disclosure of his PII. He would not

have agreed to provide his PII to Defendants, or would have taken precautions to

protect it had he known that Defendants would not safeguard it.

       30.        Plaintiff Hajny received Defendants VGoA and Audi’s Notice of Data

Security Incident, dated June 15, 2021, on or about that date.

       31.    The Notice instructed Mr. Hajny to, among other things, “[l]ook out for

spam emails” and “[b]e cautious when opening links or attachments from unsolicited

third parties.”

       32.    On or about May 24, 2021, Plaintiff Hajny was informed by the Internal

Revenue Service (“IRS”) that unauthorized third parties used his name and PII to

electronically file a fraudulent 2019 tax return in his name. Because of this fraud,

the IRS believes Mr. Hajny owes the government approximately $5,000. The IRS

also informed Mr. Hajny that a different unauthorized third party electronically filed

a 2020 tax return in his name, but because that return was filed after Mr. Hajny filed


                                           10
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his hard copy 2020 tax return, the fraud is pending investigation.

      33.    After receipt of the Notice letter, Plaintiff Hajny made reasonable

efforts to mitigate further impact of the Data Breach. He spent time researching the

Data Breach, reviewing and monitoring his credit reports and financial account

statements for any indications of actual or attempted identity theft or fraud. In

response to the IRS fraud he suffered as a consequence of the Data Breach, Mr.

Hajny has spent time online and on the telephone with various IRS departments, he

filed a police report with the local police department, and he personally drove to the

IRS office in Alameda County to dispute the fraudulent tax return filings in person.

He estimates that he has spent 10-15 hours in response to the Data Breach so far.

This is valuable time he otherwise would have spent on other activities.

      34.    Plaintiff Hajny suffered additional actual injury from having his PII

compromised in the Data Breach including, but not limited to: (a) damage to and

diminution in the value of his PII, a form of property that Defendants obtained from

Plaintiff; (b) violation of his privacy rights; and (c) continuing and impending injury

arising from the increased risk of identity theft and fraud.

Plaintiff Villalobos

      35.    Plaintiff Ricardo Villalobos has leased three Audi vehicles since 2017

from Audi Pacific located in Torrance, California; Walter’s Audi located in

Riverside, California; and Audi Pasadena, located in Pasadena, California.


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      36.    Plaintiff Villalobos provided his PII to Defendants to lease his Audi

vehicles with the understanding that it would be protected, maintained, and

safeguarded from unauthorized users or disclosure, and that he would be timely

notified of any unauthorized disclosure of his PII. He would not have agreed to

provide his PII to Defendants, or would have taken precautions to protect it had he

known that Defendants would not safeguard it.

      37.    Plaintiff Villalobos received a letter from Audi of America, dated June

11, 2021, informing him that his information was affected by the Data Breach. A

code contained in the letter indicates that he was one of the victims who had the full

panoply of PII stolen, including potentially his driver’s license number, Social

Security number, account numbers, and tax identification number.

      38.    The letter from Defendant Audi instructed Mr. Villalobos to, among

other things, “look out for spam emails” and “[b]e cautious when opening links or

attachments from unsolicited third parties.” It also provided him an option to enroll

in credit monitoring and identity theft recovery services.

      39.    Following the Data Breach, Plaintiff Villalobos noticed fraudulent

inquiries on his credit report involving credit cards. He was also locked out of his

Netflix account while watching a show. Further, Plaintiff Villalobos has received

spam texts purporting to be an alert from Chase bank about an unapproved login

which requires him to enter his personal information.


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      40.    After receipt of the Notice letter, Plaintiff Villalobos made reasonable

efforts to mitigate further impact of the Data Breach. He spent time researching the

Data Breach and reviewing and monitoring his credit reports and financial account

statements for any indications of actual or attempted identity theft or fraud. This is

valuable time he otherwise would have spent on other activities.

      41.    Plaintiff Villalobos suffered additional actual injury from having his PII

compromised in the Data Breach including: (a) damage to and diminution in the

value of his PII, a form of property that Defendants obtained from Plaintiff; (b)

violation of his privacy rights; and (c) continuing and impending injury arising from

the increased risk of identity theft and fraud.

Plaintiff Service

      42.    In order to purchase his Audi vehicle in 2015 from Audi Lighthouse

Point (now known as Audi Fort Lauderdale), on the occasion of several test drives

of Audi vehicles at Audi dealerships in Florida, and in order to rent Audi vehicles

from Silvercar by Audi on multiple occasions since 2015, Plaintiff Service was

required by Defendants to provide his PII, including his full name, driver’s license

number, Social Security number, e-mail address, telephone numbers, date of birth,

bank account numbers, and other sensitive information, including employer name,

names and contact information of relatives and personal references, and insurance

information. He provided this PII to Defendants with the understanding that his PII


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would be protected, maintained, and safeguarded from unauthorized use or

disclosure, and that he would be timely notified of any unauthorized disclosure of

his PII. He would not have agreed to provide his PII to Defendants, or would have

taken precautions to protect it had he known that Defendants would not safeguard it.

      43.    Plaintiff Service received Defendants VGoA and Audi’s Notice of Data

Breach, dated June 11, 2021. A code contained in the letter indicates that he had at

least his name, phone number and email address exposed in the Data Breach.

      44.    The Notice instructed Mr. Service to, among other things, “[l]ook out

for spam emails” and “[b]e cautious when opening links or attachments from

unsolicited third parties.” It also provided him an option to enroll in credit

monitoring and identity theft recovery services.

      45.    Following the Data Breach, Plaintiff Service noticed an intense uptick

in Spam email and phone calls, and was notified by Experian, from which he

purchases credit monitoring, that his PII is available to the public due the Data

Breach. As a result of receiving the notice from Defendants VGoA and Audi,

Plaintiff Service locked his credit, causing great stress and cost.

      46.    After receipt of the June 11 Notice letter, Plaintiff Service made

reasonable efforts to mitigate further impact of the Data Breach. He spent time

researching the Data Breach, reviewing and monitoring his credit reports and

financial account statements for any indications of actual or attempted identity theft


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or fraud, and locking his credit, as described above. He estimates that he has spent

10-15 hours in response to the Data Breach so far. This is valuable time he otherwise

would have spent on other activities.

      47.    Plaintiff Service suffered additional actual injury from having his PII

compromised in the Data Breach including, but not limited to: (a) damage to and

diminution in the value of his PII, a form of property that Defendants obtained from

Plaintiff; (b) violation of his privacy rights; and (c) continuing and impending injury

arising from the increased risk of identity theft and fraud.

Plaintiff Adams

      48.    Plaintiff Adams purchased an Audi vehicle in Tampa, Florida in 2017

from Reeves Import Motorcars.

      49.    Plaintiff provided his PII to Defendants to purchase his Audi vehicle

with the understanding that it would be protected, maintained, and safeguarded from

unauthorized users or disclosure, and that he would be timely notified of any

unauthorized disclosure of his PII. He would not have agreed to provide his PII to

Defendants, or would have taken precautions to protect it, had he known that

Defendants would not safeguard it.

      50.    Plaintiff Adams received an email from Audi of America, dated June

20, 2021, informing him that his PII was affected by the Data Breach.

      51.    The email from Defendant Audi instructed Mr. Adams to, among other


                                          15
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things, “look out for spam emails” and “[b]e cautious when opening links or

attachments from unsolicited third parties.”

      52.    Following the Data Breach, in April 2021, Adams’ information was

fraudulently used to apply for a line of credit.

      53.    In July 2021, Adams received a letter from Chase Bank saying that they

declined an application because they were concerned that someone may be using his

information fraudulently

      54.    After receipt of the Notice letter, Plaintiff Adams made reasonable

efforts to mitigate further impact of the Data Breach. He spent time researching the

Data Breach and reviewing and monitoring his credit reports and financial account

statements for any indications of actual or attempted identity theft or fraud. This is

valuable time he otherwise would have spent on other activities.

      55.    Plaintiff Adams suffered additional actual injury from having his PII

compromised in the Data Breach, including: (a) damage to and diminution in the

value of his PII, a form of property that Defendants obtained from Plaintiff; (b)

violation of his privacy rights; and (c) continuing and impending injury arising from

the increased risk of identity theft and fraud.

A.    The PII exposed by Defendants is very valuable to identity thieves

      56.    The information exposed by Defendants is very valuable to phishers,

hackers, identity thieves and cyber criminals, especially at this time where


                                          16
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unprecedented numbers of fraudsters are filing fraudulent unemployment benefit

claims.

       57.     Cybercrime has been on the rise for the past decade and continues to

climb exponentially; as of 2013 it was being reported that nearly one out of four data

breach notification recipients become a victim of identity fraud.9

       58.     Stolen PII is often trafficked on the “dark web,” a heavily encrypted

part of the Internet that is not accessible via traditional search engines. This is

because malicious actors buy and sell that information for profit. 10 And, indeed, it

appears this is already happening with the PII stolen in the Data Breach here.

       59.     Law enforcement has difficulty policing the dark web due to this

encryption, which allows users and criminals to conceal identities and online

activity.

       60.     For example, when the U.S. Department of Justice announced its

seizure of AlphaBay in 2017, AlphaBay had more than 350,000 listings, many of

which concerned stolen or fraudulent documents that could be used to assume

another person’s identity.      Other marketplaces, similar to the now-defunct

AlphaBay, “are awash with [PII] belonging to victims from countries all over the


9
      Al Pascual, 2013 Identity Fraud Report: Data Breaches Becoming a Treasure
Trove for Fraudsters, JAVELIN (Feb. 20, 2013).
10
      Donna Parent, Shining a Light on the Dark Web with Identity Monitoring,
IDENTITYFORCE (Dec. 28, 2020), https://www.identityforce.com/blog/shining-light-
dark-web-identity-monitoring (last visited October 13, 2021).
                                          17
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world. One of the key challenges of protecting PII online is its pervasiveness. As

data disclosures in the news continue to show, PII about employees, customers and

the public is housed in all kinds of organizations, and the increasing digital

transformation of today’s businesses only broadens the number of potential sources

for hackers to target.”11

      61.    Numerous sources cite dark web pricing for stolen identity credentials.

For example, personal information can be sold at a price ranging from $40 to $200,

and bank details have a price range of $50 to $200.12 Experian reports that a stolen

credit or debit card number can sell for $5 to $110 on the dark web.13 Criminals can

also purchase access to entire company data breaches for $900 to $4,500.14

      62.    Some of the information compromised in the Data Breach here is

significantly more valuable than the loss of, for example, credit card information



11
       Stolen PII & Ramifications: Identity Theft and Fraud on the Dark Web,
ARMOR (April 3, 2018), https://www.armor.com/resources/blog/stolen-pii-
ramifications-identity-theft-fraud-dark-web/ (last visited October 13, 2021).
12
       Anita George, Your personal data is for sale on the dark web. Here’s how
much        it     costs,      DIGITAL     TRENDS          (Oct.     16,       2019),
https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-
how-much-it-costs/ (last visited October 13, 2021).
13
       Brian Stack, Here’s How Much Your Personal Information Is Selling for on
the Dark Web, EXPERIAN (Dec. 6, 2017), https://www.experian.com/blogs/ask-
experian/heres-how-much-your-personal-information-is-selling-for-on-the-dark-
web/ (last visited October 13, 2021).
14
       In           the           Dark,             VPNOverview               (2019),
https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last visited
October 13, 2021).
                                         18
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because there, victims can cancel or close credit and debit card accounts. The

information compromised in this Data Breach—names, dates of birth, driver’s

license numbers and Social Security numbers, etc.—is difficult, if not impossible, to

change.

      63.    Social Security numbers are among the worst kind of personal

information to have stolen because they can be misused so many different ways and

are very difficult to change. The Social Security Administration stresses that the loss

of an individual’s Social Security number, as is the case here, can lead to identity

theft and extensive financial fraud:

      A dishonest person who has your Social Security number can use it to
      get other personal information about you. Identity thieves can use your
      number and your good credit to apply for more credit in your name.
      Then, they use the credit cards and don’t pay the bills, it damages your
      credit. You may not find out that someone is using your number until
      you’re turned down for credit, or you begin to get calls from unknown
      creditors demanding payment for items you never bought. Someone
      illegally using your Social Security number and assuming your identity
      can cause a lot of problems.15

      64.    It is no easy task to change or cancel a stolen Social Security number.

Plaintiffs and the Class members cannot obtain new Social Security numbers without

significant paperwork and evidence of actual misuse. In other words, preventive

action to defend against the possibility of misuse of a Social Security number is not


15
      Social Security Administration, Identity Theft and Your Social Security
Number, https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited October 13,
2021).
                                          19
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permitted; an individual must show evidence of actual, ongoing fraud activity to

obtain a new number.

      65.    Even then, a new Social Security number may not be effective.

According to Julie Ferguson of the Identity Theft Resource Center, “The credit

bureaus and banks are able to link the new number very quickly to the old number,

so all of that old bad information is quickly inherited into the new Social Security

number.”16

      66.    Driver’s license numbers are also incredibly valuable. “Hackers harvest

license numbers because they’re a very valuable piece of information. A driver’s

license can be a critical part of a fraudulent, synthetic identity – which go for about

$1200 on the Dark Web. On its own, a forged license can sell for around $200.”17

      67.    National credit reporting company, Experian, blogger Sue Poremba

also emphasized the value of a driver’s license to thieves and cautioned:

      If someone gets your driver’s license number, it is also concerning
      because it’s connected to your vehicle registration and insurance
      policies, as well as records on file with the Department of Motor
      Vehicles, place of employment (that keep copy of your driver’s license

16
       Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to
Bounce Back, NPR (Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-
stolen-by-anthem-s-hackers-has-millionsworrying-about-identity-theft (last visited
October 13, 2021).
17
       Lee Mathews, Hackers Stole Customers’ License Numbers from Geico in
Months-Long          Breach,        FORBES        (April        20,        2021),
https://www.forbes.com/sites/leemathews/2021/04/20/hackers-stole-customers-
license-numbers-from-geico-in-months-long-breach/?sh=3066c2218658            (last
visited October 13, 2021).
                                          20
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      on file), doctor’s office, government agencies, and other entities.
      Having access to that one number can provide an identity thief with
      several pieces of information they want to know about you. Next to
      your Social Security number, your driver’s license is one of the most
      important pieces to keep safe from thieves.18
      68.    In fact, according to CPO Magazine, which specializes in news, insights

and resources for data protection, privacy and cyber security professionals, “[t]o

those unfamiliar with the world of fraud, driver’s license numbers might seem like

a relatively harmless piece of information to lose if it happens in isolation.”19 Tim

Sadler, CEO of email security firm Tessian, told CPO Magazine why this is not the

case and why these numbers are very much sought after by cyber criminals:

      It’s a gold mine for hackers. With a driver’s license number, bad actors
      can manufacture fake IDs, slotting in the number for any form that
      requires ID verification, or use the information to craft curated social
      engineering phishing attacks . . . . [B]ad actors may be using these
      driver’s license numbers to fraudulently apply for unemployment
      benefits in someone else’s name, a scam proving especially lucrative
      for hackers as unemployment numbers continue to soar. . . . In other
      cases, a scam using these driver’s license numbers could look like an
      email that impersonates the DMV, requesting the person verify their
      driver’s license number, car registration or insurance information, and
      then inserting a malicious link or attachment into the email.20


18
      Sue Poremba, What Should I do If My Driver’s License Number Is Stolen?,
EXPERIAN (Oct. 24, 2018), https://www.experian.com/blogs/ask-experian/what-
should-i-do-if-my-drivers-license-number-is-stolen/ (last visited October 13, 2021).
19
      Scott Ikeda, Geico Data Breach Leaks Driver’s License Numbers, Advises
Customers to Watch Out for Fraudulent Unemployment Claims, CPOMAGAZINE
(April 23, 2021), https://www.cpomagazine.com/cyber-security/geico-data-breach-
leaks-drivers-license-numbers-advises-customers-to-watch-out-for-fraudulent-
unemployment-claims/ (last visited October 8, 2021).
20
      Id.
                                         21
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      69.    Driver’s license numbers have been taken from auto-insurance

providers by hackers in other circumstances, indicating both that this particular form

of PII is in high demand and also that Defendants knew or had reason to know that

their security practices were of particular importance to safeguard consumer data.21

      70.    The data stolen in this case commands a much higher price on the black

market. Martin Walter, senior director at cybersecurity firm RedSeal, explained,

“Compared to credit card information, personally identifiable information and Social

Security numbers are worth more than 10x in price on the black market.”22

      71.    Once PII is sold, it is often used to gain access to various areas of the

victim’s digital life, including bank accounts, social media, credit card, and tax

details. This can lead to additional PII being harvested from the victim, as well as

PII from family, friends, and colleagues of the original victim.


21
       See United States Securities and Exchange Commission Form 8-K for INSU
Acquisition            Corp.           II          (Feb.         1,          2021),
https://www.sec.gov/Archives/edgar/data/1819035/000121390021005784/ea13424
8-8k_insuacquis2.htm?=1819035-01022021 (last visited October 13, 2021)
(announcing a merger with auto-insurance company MetroMile, Inc., an auto-
insurer, which announced a drivers’ license number Data Disclosure on January 19,
2021); Ron Lieber, How Identity Thieves Took My Wife for a Ride, N.Y. TIMES (Apr.
27, 2021)¸ https://www.nytimes.com/2021/04/27/your-money/identity-theft-auto-
insurance.html (last visited October 13, 2021) (describing a scam involving drivers’
license numbers and Progressive Insurance).
22
       Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen
Credit      Card     Numbers,       NETWORK       WORLD       (Feb.    6,    2015),
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-
stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html (last visited October
13, 2021).
                                         22
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      72.    According to the FBI’s Internet Crime Complaint Center (IC3) 2019

Internet Crime Report, Internet-enabled crimes reached their highest number of

complaints and dollar losses in 2019, resulting in more than $3.5 billion in losses to

individuals and business victims.

      73.    Victims of driver’s license number theft also often suffer

unemployment benefit fraud, harassment in person or online, and/or experience

financial losses resulting from fraudulently opened accounts or misuse of existing

accounts.

B.    Defendants failed to comply with Federal Trade Commission
      requirements for data security

      74.    Federal and State governments have established security standards and

issued recommendations to minimize data disclosures and the resulting harm to

individuals and financial institutions. The Federal Trade Commission (“FTC”) has

issued numerous guides for businesses that highlight the importance of reasonable

data security practices. According to the FTC, the need for data security should be

factored into all business decision-making.23

      75.    In 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established guidelines for fundamental



23
      See Federal Trade Commission, Start With Security: A Guide for Business
(June 2015), https://www.ftc.gov/system/files/documents/plain-language/pdf0205-
startwithsecurity.pdf (last visited October 13, 2021).
                                         23
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data security principles and practices for businesses.24 Among other things, the

guidelines note businesses should properly dispose of personal information that is

no longer needed; encrypt information stored on computer networks; understand

their network’s vulnerabilities; and implement policies to correct security problems.

The guidelines also recommend that businesses use an intrusion detection system to

expose a breach as soon as it occurs; monitor all incoming traffic for activity

indicating someone is attempting to hack the system; watch for large amounts of

data being transmitted from the system; and have a response plan ready in the event

of a breach.25

      76.     Additionally, the FTC recommends that companies limit access to

sensitive data; require complex passwords to be used on networks; use industry-

tested methods for security; monitor for suspicious activity on the network; and

verify that third-party service providers have implemented reasonable security

measures.26

      77.     Highlighting the importance of protecting against data disclosures, the

FTC has brought enforcement actions against businesses for failing to adequately



24
      See Federal Trade Commission, Protecting Personal Information: A Guide
for Business (Oct. 2016), https://www.ftc.gov/system/files/documents/plain-
language/pdf-0136_proteting-personal-information.pdf (last visited October 13,
2021).
25
      Id.
26
      Federal Trade Commission, Start With Security, supra, note 23.
                                         24
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and reasonably protect PII, treating the failure to employ reasonable and appropriate

measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act

(“FTC Act”), 15 U.S.C. § 45. Orders resulting from these actions further clarify the

measures businesses must take to meet their data security obligations.27

      78.    Through their negligence in securing Plaintiffs’ and Class members’

PII, Defendants failed to employ reasonable and appropriate measures to protect

against unauthorized access to Plaintiffs’ and the Class members’ PII. Defendants’

data security policies and practices constitute unfair acts or practices prohibited by

Section 5 of the FTC Act, 15 U.S.C. § 45, in addition to violation of the Drivers’

Privacy Protection Act, 18 U.S.C. § 2724 (“DPPA”).

C.    Plaintiffs and the Class members suffered damages as a result of
      Defendants’ failure to protect their PII

      79.    Plaintiffs and Class members suffer a present and continuing risk of

actual identity theft in addition to all other forms of fraud.

      80.    The ramifications of Defendants’ failure to keep individuals’ PII secure

are long lasting and severe. Once PII is stolen, fraudulent use of that information and




27
      Federal Trade Commission, Privacy and Security Enforcement Press
Releases, https://www.ftc.gov/news-events/media-resources/protecting-consumer-
privacy/privacy-security-enforcement (last visited October 13, 2021).
                                           25
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damage to victims may continue for years.28

      81.    The PII belonging to Plaintiffs and Class members is private and

sensitive in nature. Defendants failed to obtain Plaintiffs’ and Class members’

consent to disclose such PII to any other person as required by applicable law and

industry standards.

      82.    Defendants’ inattention to the possibility that anyone could obtain the

PII of any customer or potential customer of Defendants left Plaintiffs and Class

members with no ability to protect their sensitive and private information.

      83.    Defendants had the resources necessary to prevent the Data Breach, but

neglected to adequately implement data security measures, despite their obligations

to protect PII of Plaintiffs and Class members from unauthorized disclosure.

      84.    Had Defendants remedied the deficiencies in their data security systems

and adopted security measures recommended by experts in the field, they would

have prevented the intrusions into their systems and, ultimately, the theft of PII.

      85.    As a direct and proximate result of Defendants’ actions and inactions,

Plaintiffs and Class members have been placed at an imminent, immediate, and

continuing increased risk of harm from identity theft and fraud, requiring them to

take the time which they otherwise would have dedicated to other life demands such


28
       2014 LexisNexis True Cost of Fraud Study, LEXISNEXIS (August 2014),
https://www.lexisnexis.com/risk/downloads/assets/true-cost-fraud-2014.pdf (last
visited October 13, 2021).
                                          26
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as work and family in an effort to mitigate the actual and potential impact of the Data

Breach on their lives.

      86.    The U.S. Department of Justice’s Bureau of Justice Statistics found that

“among victims who had personal information used for fraudulent purposes, 29%

spent a month or more resolving problems” and that “resolving the problems caused

by identity theft [could] take more than a year for some victims.”29

      87.    As a result of Defendants’ failures to prevent the Data Breach, Plaintiffs

and Class members have suffered, will suffer, and are at increased risk of suffering:

      a.     The compromise, publication, theft, and/or unauthorized use of their

             PII;

      b.     Out-of-pocket costs associated with the prevention, detection, recovery,

             and remediation from identity theft or fraud;

      c.     Lost opportunity costs and lost wages associated with efforts expended

             and the loss of productivity from addressing and attempting to mitigate

             the actual and future consequences of the Data Breach, including but

             not limited to efforts spent researching how to prevent, detect, contest,

             and recover from identity theft and fraud;




29
       U.S. Department of Justice, OFFICE OF JUSTICE PROGRAMS BUREAU OF
JUSTICE STATISTICS, Victims of Identity Theft, 2012, December 2013,
https://www.bjs.gov/content/pub/pdf/vit12.pdf (last visited Oct. 13, 2021).
                                          27
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      d.     The present and continuing risk to their PII, which remains in the

             possession of Defendants and is subject to further breaches so long as

             Defendants fail to undertake appropriate measures to protect the PII in

             their possession; and

      e.     Current and future costs in terms of time, effort, and money that will be

             expended to prevent, detect, contest, remediate, and repair the impact

             of the Data Breach for the remainder of the lives of Plaintiffs and Class

             members.

      f.     Emotional distress, anguish, and worry about their PII being sold on the

             dark web, being in the possession of malicious actors, and being

             misused.

      88.    In addition to a remedy for the economic harm, Plaintiffs and the Class

members maintain an undeniable interest in ensuring that their PII is secure, remains

secure, and is not subject to further misappropriation and theft. Plaintiffs therefore

requests the injunctive remedies outlined in the Prayer of this Complaint.

      89.    Pursuant to Federal Rules of Civil Procedure 23(b)(2), (b)(3) and (c)(4),

Plaintiffs seeks certification of the following national class (“Nationwide Class”):

      All persons residing in the United States whose PII, as defined herein,
      was compromised in the Data Breach that Defendants VGoA and Audi
      announced in June 2021.




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      90.     Pursuant to Federal Rules of Civil Procedure 23(b)(2), (b)(3) and (c)(4),

Plaintiffs seek certification of the following California state subclass (“California

Subclass”):

      All persons residing in the State of California whose PII, as defined
      herein, was compromised in the Data Breach that Defendants VGoA
      and Audi announced in June 2021.

      91.     Pursuant to Federal Rules of Civil Procedure 23(b)(2), (b)(3) and (c)(4),

Plaintiffs seek certification of the following Florida state subclass (“Florida

Subclass”):

      All persons residing in the State of Florida whose PII, as defined
      herein, was compromised in the Data Breach that Defendants
      announced in June 2021.

      92.     The Nationwide Class and state sub-classes are collectively referred to

herein as the “Class” unless otherwise stated.

      93.     Excluded from the proposed Class are the Defendants, including their

corporate affiliates and any entities in which they have a controlling interest or that

are controlled by Defendants, as well as the officers, directors, affiliates, legal

representatives, heirs, predecessors, successors, and assigns of Defendants.

      94.     Plaintiffs reserve the right to amend or modify the Class definitions

with greater specificity or division, or create and seek certification of additional

classes, after having had an opportunity to conduct discovery.




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      95.    Numerosity.      Although the exact number of Class members is

uncertain, Defendants have reported it to be around 3.3 million people. This number

is clearly great enough that joinder is impracticable. The disposition of the claims of

these Class members in a single action will provide substantial benefits to all parties

and to the Court. The Class members may be identified by objective means, such as

through information and records in Defendants’ possession, custody, or control.

      96.    Commonality and Predominance. Common questions of law and fact

exist as to the proposed Class members and predominate over questions affecting

only individual Class members. These common questions include:

             a.     Whether Defendants engaged in the wrongful conduct alleged

                    herein;

             b.     Whether Defendants’ data security measures to protect

                    Plaintiffs’ and Class members’ PII were reasonable in light of

                    industry standards, the sensitivity of the information involved,

                    the   known     threats    to   PII,   the   FTC   data   security

                    recommendations, applicable cybersecurity standards, and best

                    practices recommended by data security experts;

             c.     Whether Defendants violated the California and Florida state

                    laws identified herein;




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             d.    Whether Defendants’ failure to implement adequate data security

                   measures resulted in or was the proximate cause of the Data

                   Breach;

             e.    Whether Defendants’ conduct, including their failure to act, was

                   a legal cause of the loss of PII of Plaintiffs and Class members;

             f.    Whether Defendants owed a legal duty to Plaintiffs and Class

                   members to exercise due care in collecting, storing, and

                   safeguarding their PII;

             g.    Whether Defendants negligently or recklessly breached legal

                   duties owed to Plaintiffs and the other Class members to exercise

                   due care in collecting, storing, and safeguarding their PII;

             h.    Whether Plaintiffs and the other Class members are entitled to

                   actual, statutory, or other forms of damages, and other monetary

                   relief; and

             i.    Whether Plaintiffs and the other Class members are entitled to

                   equitable relief, including, but not limited to, injunctive relief and

                   restitution.

      97.    Typicality. Plaintiffs’ claims are typical of the claims of the Class

members. All Class members were subject to the Data Breach and had their PII

accessed by and/or disclosed to unauthorized third parties.


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      98.    Adequacy of Representation. Plaintiffs are adequate representatives

of the Class because their interests do not conflict with the interests of the other Class

members they seek to represent, they have retained counsel competent and

experienced in complex class action litigation, and Plaintiffs will prosecute this

action vigorously. The interests of the Class will be fairly and adequately protected

by Plaintiffs and their counsel.

      99.    Superiority. A class action is superior to any other available means

for the fair and efficient adjudication of this controversy, and no unusual difficulties

are likely to be encountered in the management of this matter as a class action. The

damages, harm, or other financial detriment suffered individually by Plaintiffs and

the other Class members are relatively small compared to the burden and expense

that would be required to litigate their claims on an individual basis against

Defendants, making it impracticable for Class members to individually seek redress

for Defendants’ wrongful conduct. Even if Class members could afford individual

litigation, the court system could not. Individualized litigation would create a

potential for inconsistent or contradictory judgments and increase the delay and

expense to all parties and the court system. By contrast, the class action device

presents far fewer management difficulties and provides the benefits of single

adjudication, economies of scale, and comprehensive supervision by a single court.




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                                   COUNT 1
                                   Negligence
             (On behalf of the Nationwide Class and all Subclasses)
                            (Against all Defendants)

      100. Plaintiffs incorporate by reference the allegations in paragraphs 1

through 99 as though fully set forth herein.

      101. Plaintiffs bring this claim against Defendants on behalf of themselves,

the Nationwide Class, and the Florida and California Subclasses.

      102. Defendants owed a duty to Plaintiffs and the Class to exercise

reasonable care in securing, safeguarding, storing, and protecting Plaintiffs’ and

Class members’ PII from being compromised, lost, stolen, and accessed by

unauthorized persons. This duty includes, among other things, designing,

maintaining, and testing their data security systems to ensure that Plaintiffs’ and

Class members’ PII in Defendants’ possession was and is adequately secured and

protected. Defendants also owed a duty to ensure that they have adequate intrusion

detection systems so that they can timely detect intrusions into their systems and

networks and can take appropriate corrective action.

      103. Additionally, Defendants owed a duty to confirm that any affiliates,

vendors, or third parties whom Defendants entrust to manage, store, and secure the

PII provided to Defendants by their customers have adequate security for that PII,

follow industry standards and laws relating to safeguarding PII, have properly

segregated that PII, have securely encrypted that PII, and otherwise prioritize data
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security in a way that will ensure the PII is secure from cyber threats and malicious

actors.

      104. Defendants owed a duty of care to Plaintiffs and members of the Class

because they were foreseeable and probable victims of any inadequate data security

practices. Defendants knew or should have known of the inherent risks in collecting

and storing the PII of Plaintiffs and Class members and the critical importance of

adequately securing such information.

      105. Plaintiffs and members of the Class entrusted Defendants with their PII

with the understanding that Defendants would safeguard their information.

Defendants were in a position to protect against the harm suffered by Plaintiffs and

members of the Class as a result of the Data Breach whereas Plaintiffs and the Class

members were dependent on Defendants for that protection.

      106. Defendants’ actions created a foreseeable risk of harm to Plaintiffs and

Class members. Defendants’ misconduct included failing to implement the systems,

policies, and procedures necessary to prevent the Data Breach, failing to properly

encrypt or redact the PII, failing to implement systems that could timely detect

intrusions into their systems by threat actors, failing to train their personnel to

recognize and respond to data security risks, or failing to ensure that parties entrusted

by Defendants to store, manage, and secure the PII of Plaintiffs and the Class had

those systems and procedures in place.


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      107. Defendants knew, or should have known, of the risks inherent in

collecting and storing PII and the importance of adequate security. Defendants knew

about – or should have been aware of - numerous, well-publicized data breaches

affecting businesses that store PII in the United States.

      108. Defendants also had independent duties under state and federal laws

that required Defendants to reasonably safeguard Plaintiffs’ and Class members’ PII.

These duties are non-delegable.

      109. Defendants breached their duties to Plaintiffs and Class members by

failing to provide reasonable or adequate computer systems and data security to

safeguard the PII of Plaintiffs and Class members.

      110. Furthermore, Defendants negligently entrusted Plaintiffs’ and the Class

members’ PII to third party vendors and service providers without taking adequate

steps to ensure they had the systems and protocols in place to protect that PII from

theft or disclosure.

      111. Through Defendants’ acts and omissions, including Defendants’ failure

to provide adequate security and its failure to protect Plaintiffs’ and Class members’

PII from being foreseeably accessed, Defendants unlawfully breached their duty to

use reasonable care to adequately protect and secure the PII of Plaintiffs and Class

members.




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       112. In engaging in the negligent acts and omissions as alleged herein, which

permitted an unknown third party to exfiltrate Plaintiffs’ and Class members’ PII

and then misuse it, Defendants violated Section 5 of the FTC Act, which prohibits

“unfair . . . practices in or affecting commerce.” This prohibition includes failing to

have adequate data security measures and failing to protect Plaintiffs’ and Class

members’ PII. Defendants also violated the Drivers’ Privacy Protection Act, 18

U.S.C. § 2724 (“DPPA”), in that they disclosed the driver’s license numbers of

Plaintiffs and the Class members to unauthorized third parties.

       113. Plaintiffs and the Class members are among the class of persons Section

5 of the FTC Act and the DPPA were designed to protect, and the injuries suffered

by Plaintiffs and the Class members is the type of injury those laws were intended

to prevent.

       114. Neither Plaintiffs nor any of the Class members contributed to the Data

Breach as described in this Complaint.

       115. As a direct and proximate cause of Defendants’ negligent conduct,

Plaintiffs and Class members have suffered and/or will suffer injury and damages,

including: (i) actual instances of identity fraud or similar misuse of their PII;

(ii) loss of their benefit of the bargain with Defendants; (iii) the publication, theft, or

misuse of their PII, including instances of identity fraud or similar misconduct;

(iv) out-of-pocket expenses associated with the prevention, detection, and recovery


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from identity theft, tax fraud, and/or unauthorized use of their PII; (v) lost

opportunity costs associated with effort expended and the loss of productivity

addressing and attempting to mitigate the actual and future consequences of the Data

Breach, including but not limited to efforts spent researching how to prevent, detect,

contest and recover from tax fraud and identity theft; (vi) costs associated with

placing freezes on credit reports; (vii) anxiety, emotional distress, loss of privacy,

and other economic and non-economic losses; (viii) the present and continuing risk

to their PII, which remains in Defendants’ possession and is subject to further

unauthorized disclosures so long as Defendants fail to undertake appropriate and

adequate measures to protect that PII in their continued possession; and, (ix) future

costs in terms of time, effort and money that will be expended to prevent, detect,

contest, and repair the inevitable and continuing consequences of compromised PII

for the rest of their lives.

                                     COUNT 2
                                 Unjust Enrichment
                  (On behalf of the Nationwide Class and all Subclasses)
                         (Against Defendants VWoA and Audi)

       116. Plaintiffs incorporate by reference the allegations from paragraphs 1

through 99 as though fully set forth herein.

       117. Plaintiffs bring this claim against Defendants on behalf of themselves,

the Nationwide Class, and the Florida and California Subclasses.



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      118. Plaintiffs and members of the Class conferred a monetary benefit on

Defendants. Specifically, Plaintiffs and Class members paid for products or services

of the Defendants and also provided and entrusted their PII to those Defendants,

which Defendants used for sales and marketing purposes.

      119. In exchange, Plaintiffs and Class members should have received from

Defendants their expected goods and services, such as the security of their PII, and

should have been entitled to have Defendants protect their PII with adequate data

security.

      120. Defendants appreciated, accepted, and retained the benefits bestowed

on them under inequitable and unjust circumstances arising from Defendants’

conduct toward Plaintiffs and Class members as described herein; Plaintiffs and

Class members conferred a benefit on Defendants; and Defendants accepted or

retained that benefit. Defendants profited from the products and services Plaintiffs

and Class members paid for and they used Plaintiffs’ and Class members’ PII for

business purposes.

      121. Defendants failed to secure Plaintiffs’ and Class members’ PII and,

therefore, did not provide full compensation for the monetary benefit Plaintiffs and

Class members conferred on Defendants.

      122. Defendants acquired the PII through inequitable means in that they

failed to disclose the inadequate security practices previously alleged.


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         123. Had Plaintiffs and Class members known that Defendants would not

secure their PII using adequate security, they would not have chosen to use

Defendants’ products or services, or would have paid less for them, and would not

have entrusted their PII to Defendants.

         124. Plaintiffs and Class members have no adequate remedy at law.

         125. Under these circumstances, it would be unjust for Defendants to be

permitted to retain any of the benefits that Plaintiffs and Class members conferred

on them.

         126. Under the principles of equity and good conscience, Defendants should

not be permitted to retain the money or items of value belonging to Plaintiffs and

Class.

                                     COUNT 3
                                Breach of Confidence
               (On behalf of the Nationwide Class and All Subclasses)
                      (Against Defendants VWoA and Audi)

         127. Plaintiffs incorporate by reference the allegations from paragraphs 1

through 99 as though fully set forth herein.

         128. Plaintiffs bring this claim against Defendants on behalf of themselves,

the Nationwide Class, and the Florida and California Subclasses.

         129. At all times during Plaintiffs’ and Class members’ interactions with

Defendants, Defendants were fully aware of the confidential and sensitive nature of



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Plaintiffs’ and Class members’ PII that Plaintiffs and Class members provided to

Defendants.

      130. Defendants’ relationship with Plaintiffs and Class members was

governed by terms and expectations that Plaintiffs’ and Class members’ PII would

be collected, stored, and protected in confidence, and would not be disclosed to

unauthorized third parties.

      131. Plaintiffs and Class members provided their PII to Defendants with the

explicit and implicit understanding that Defendants would protect and not permit the

PII to be disseminated to any unauthorized parties.

      132. Defendants voluntarily received in confidence Plaintiffs’ and Class

members’ PII with the understanding that the PII would not be disclosed or

disseminated to the public or any unauthorized third parties.

      133. Due to Defendants’ failure to prevent, detect, and avoid the Data Breach

by following best information security practices to secure Plaintiffs’ and Class

members’ PII, Plaintiffs’ and Class members’ PII was disclosed and misappropriated

to unauthorized third parties beyond Plaintiffs’ and Class members’ confidence, and

without their express permission.

      134. As a direct and proximate cause of Defendants’ actions and omissions,

Plaintiffs and Class members have suffered the damages alleged.




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      135. But for Defendants’ disclosure of Plaintiffs’ and Class members’ PII in

violation of the parties’ understanding of confidence, their PII would not have been

compromised, stolen, viewed, accessed, and misused by unauthorized third parties.

Defendants’ disclosure through the Data Breach was the direct and legal cause of

the theft of Plaintiffs’ and Class members’ PII, as well as the resulting damages.

      136. The injury and harm Plaintiffs and Class members suffered was the

reasonably foreseeable result of Defendants’ unauthorized disclosure of Plaintiffs’

and Class members’ PII. Defendants knew their systems and technologies for

accepting and securing Plaintiffs’ and Class members’ PII had numerous security

and other vulnerabilities that placed Plaintiffs’ and Class members’ PII in jeopardy.

      137. As a direct and proximate result of Defendants’ breaches of confidence,

Plaintiffs and Class members have suffered and will suffer injury, including but not

limited to: (a) actual identity theft; (b) the compromise, publication, and/or theft of

their PII; (c) out-of-pocket expenses associated with the prevention, detection, and

recovery from identity theft and/or unauthorized use of their PII; (d) lost opportunity

costs associated with effort expended and the loss of productivity addressing and

attempting to mitigate the actual and future consequences of the Data Breach,

including but not limited to efforts spent researching how to prevent, detect, contest,

and recover from identity theft; (e) the present and continuing risk to their PII, which

remains in Defendants’ possession and is subject to further unauthorized disclosures


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so long as Defendants fail to undertake appropriate and adequate measures to protect

the PII in their continued possession; and (f) future costs in terms of time, effort, and

money that will be expended as result of the Data Breach for the remainder of the

lives of Plaintiffs and Class members.

                                    COUNT 4
                           Breach of Implied Contract
              (On behalf of the Nationwide Class and All Subclasses)
                     (Against Defendants VGoA and Audi)

      138. Plaintiffs incorporate by reference the allegations from Paragraphs 1

through 99 as though fully set forth herein.

      139. Plaintiffs bring this claim against Defendants VGoA and Audi on

behalf of themselves, the Nationwide Class, and the California and Florida

Subclasses.

      140. Defendants provided automobile products and services to Plaintiffs and

Class members in exchange for compensation and other benefits. In so doing,

Defendants either required Plaintiffs and Class members to provide their PII or

acquired their PII with the authorization of Plaintiffs and the Class members.

      141. Implied in these exchanges was a promise by Defendants to ensure that

the PII of Plaintiffs and Class members in their possession was only used to provide

the agreed-upon services and other benefits from Defendants.

      142. Defendants were therefore required to reasonably safeguard and protect

the PII of Plaintiffs and Class members from unauthorized disclosure or use.
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      143. Plaintiffs and Class members accepted Defendants’ offers for products

and services and fully performed their obligations under the implied contract with

Defendants by providing their PII, directly or indirectly, to Defendants.

      144. Plaintiffs and Class members would not have provided and entrusted

their PII to Defendants in the absence of their implied contracts with Defendants,

and would have instead retained the opportunity to control their PII for uses other

than products and services from Defendants.

      145. Defendants breached their implied contracts with Plaintiffs and Class

members by failing to reasonably safeguard and protect Plaintiffs’ and Class

members’ PII.

      146. As a proximate and direct result of Defendants’ breaches of their

implied contracts with Plaintiffs and Class members, Plaintiffs and the Class

members suffered economic damages as described in detail above.

                                   COUNT 5
                      Declaratory and Injunctive Relief
                (On behalf of the Nationwide Class and all Subclasses)
                               (Against all Defendants)

      147. Plaintiffs incorporate by reference the allegations from paragraphs 1

through 99 as though fully set forth herein.

      148. Plaintiffs bring this claim against Defendants on behalf of themselves,

the Nationwide Class, and the Florida and California Subclasses.



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        149. As previously alleged, Defendants owe duties of care to Plaintiffs and

Class members that require Defendants to adequately secure the PII entrusted to

them.

        150. Defendants still possess the PII pertaining to Plaintiffs and the Class

members.

        151. Defendants have made no announcement or notification that they have

remedied the vulnerabilities in their practices and policies to ensure the data security

of Plaintiffs’ and the Class members’ PII.

        152. Accordingly, Defendants have not satisfied their legal obligations and

duties to Plaintiffs and the Class members. On the contrary, now that Defendants’

lax approach towards data security has become public, the PII in their possession is

more vulnerable than it was prior to announcement of the Data Breach.

        153. Actual harm has arisen in the wake of the Data Breach regarding

Defendants’ obligations and duties of care to provide data security measures to

Plaintiffs and the Class members, including the fact that Class members’ PII is

potentially available for sale on the dark web.

        154. Plaintiffs therefore seek a declaration that Defendants’ existing data

security measures do not comply with their obligations and duties of care, and to

comply with their obligations and duties of care Defendants must implement and

maintain reasonable security measures, including those set forth in the prayer below.


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                                   COUNT 6
       Violation of the Drivers’ Privacy Protection Act, 18 U.S.C. § 2724
            (On behalf of the Nationwide Class and All Subclasses)
                            (Against all Defendants)

      155. Plaintiffs incorporate by reference the allegations from paragraphs 1

through 99 as though fully set forth herein.

      156. Plaintiffs bring this claim against Defendants on behalf of themselves,

the Nationwide Class, and the Florida and California Subclasses.

      157. The DPPA provides that “[a] person who knowingly obtains, discloses

or uses personal information, from a motor vehicle record, for a purpose not

permitted under this chapter shall be liable to the individual to whom the information

pertains.” 18 U.S.C. § 2724.

      158. Under the DPPA, a “‘motor vehicle record’ means any record that

pertains to a motor vehicle operator’s permit, motor vehicle title, motor vehicle

registration, or identification card issued by a department of motor vehicles.” 18

U.S.C. § 2725(a). Driver’s license numbers are motor vehicle records under the

DPPA.

      159. Defendants obtained motor vehicle records from their customers.

      160. Defendants also obtained motor vehicle records directly from

companies and entities that provided such records.




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      161. From 2019 through 2021, PII of Plaintiffs and the Class, including their

driver’s license numbers, were left unsecured and publicly available on Defendants’

systems. Defendants thus knowingly both used and disclosed Plaintiffs’ and Class

members’ motor vehicle records for a purpose not permitted by the DPPA pursuant

to 18 U.S.C. §§ 2724 and 2721(b).

      162. Through the Data Breach, Defendants disclosed motor vehicle records

for purposes not authorized by the DPPA.

      163. Plaintiffs and Class members are entitled to actual damages, liquidated

damages, and attorneys’ fees and costs.

                                    COUNT 7
                Violation of California’s Consumer Privacy Act,
                           Cal. Civ. Code § 1798.150
                     (On behalf of the California Subclass)
                            (Against all Defendants)

      164. Plaintiffs incorporate by reference the allegations from paragraphs 1

through 99 as though fully set forth herein.

      165. Plaintiffs Hajny and Villalobos bring this claim against Defendants on

behalf of themselves and the California Subclass.

      166. Defendants are corporations organized for the profit or financial benefit

of their owners and have annual gross revenues exceeding $25 million and collect

PII as defined in Cal. Civ. Code § 1798.140. In addition, Defendants annually buy,




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receive, sell, or share for commercial purposes the PII of more than 50,000

consumers.

      167. Defendants violated section 1798.150(a) of the California Consumer

Privacy Act (“CCPA”) by failing to implement and maintain reasonable security

procedures and practices appropriate to the nature of the information to protect the

PII of Plaintiffs and the California Subclass. As a direct and legal result, Plaintiffs’

and the California Subclass’ nonencrypted and nonredacted PII, including but not

limited to driver’s license numbers and Social Security numbers, was subject to

unauthorized access and exfiltration, theft, or disclosure.

      168. As a direct and proximate result of Defendants’ acts, Plaintiffs and the

California Subclass members were injured and lost money or property, including the

loss of benefit of the bargain, the loss of their legally protected interest in the

confidentiality and privacy of their PII, nominal damages, and additional losses as

described above.

      169. Plaintiffs and California Subclass members seek injunctive or other

equitable relief to ensure Defendants hereinafter adequately safeguard Plaintiffs’ and

the California Subclass members’ PII by implementing reasonable security

procedures and practices. Such relief is particularly important because Defendants

continue to hold Plaintiffs’ and California Subclass members’ PII. These individuals

have an interest in ensuring that their PII is reasonably protected.


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      170. On or about July 8, 2021, Plaintiff Hajny sent Defendants via certified

mail the 30-day notice letter as required under California Civil Code section

1798.150(b). Because Defendants have not cured, and cannot cure, the results of

their violations of the CCPA, Plaintiffs Hajny and Villalobos and the California

Subclass members seek statutory damages against these Defendants under Civil

Code section 1798.150(b).

      171. On or about June 28, 2021, Plaintiff Villalobos sent Defendants VWoA

and Audi via certified mail the 30-day notice letter as required under Civil Code

1798.150(b). Because Defendants have not cured, and cannot cure, the results of

their violations of the CCPA, Plaintiffs Hajny and Villalobos and the California

Subclass members seek statutory damages against these Defendants under California

Civil Code section 1798.150(b).

      172. On or about August 6, 2021, Plaintiff Villalobos sent Defendant Shift

Digital via certified mail the 30-day notice letter as required under California Civil

Code 1798.150(b). Because Defendant Shift Digital has not cured, and cannot cure,

the results of its violations of the CCPA, Plaintiffs Hajny and Villalobos and the

California Subclass members seek statutory damages against this Defendant under

Civil Code section 1798.150(b).




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                                  COUNT 8
              Violation of California’s Unfair Competition Law,
     Cal. Bus. & Prof. Code § 17200, et seq.—Unlawful Business Practices
                    (On behalf of the California Subclass)
                           (Against all Defendants)

      173. Plaintiffs incorporate by reference the allegations from paragraphs 1

through 99 as though fully set forth herein.

      174. Plaintiffs Hajny and Villalobos bring this claim against Defendants on

behalf of themselves and the California Subclass.

      175. Defendants have violated Cal. Bus. and Prof. Code § 17200, et seq., by

engaging in unlawful business acts and practices that constitute acts of “unfair

competition” as defined in Cal. Bus. Prof. Code § 17200 with respect to the services

provided to the Class.

      176. Defendants engaged in unlawful acts and practices with respect to the

services by establishing the sub-standard security practices and procedures described

herein; by soliciting and collecting the PII of Plaintiffs and California Subclass

members with knowledge that the information would not be adequately protected;

and by storing the PII of Plaintiffs Hajny and Villalobos and the California Subclass

members in an unsecure environment in violation of the DPPA, 18 U.S.C. § 2724,

and Section 5 of the FTC Act, 15 U.S.C. § 45, which require Defendants to employ

reasonable methods of safeguarding the PII of Plaintiffs and the California Subclass.




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      177. As a direct and proximate result of Defendants’ unlawful practices and

acts, Plaintiffs Hajny and Villalobos and the California Subclass were injured and

lost money or property, including but not limited to the price received by Defendants

for the services, the loss of Plaintiffs Hajny’s and Villalobos’ and the California

Subclass’ legally protected interest in the confidentiality and privacy of their PII,

nominal damages, and additional losses as described above.

      178. Defendants knew or should have known that their data security

practices were inadequate to safeguard the PII of Plaintiffs Hajny and Villalobos and

the California Subclass members and that the risk of a data breach or theft was highly

likely, especially given their inability to adhere to basic encryption standards, data

maintenance and disposal methodologies. Defendants’ actions in engaging in the

above-named unlawful practices and acts were negligent, knowing and willful,

and/or wanton and reckless with respect to the rights of members of the California

Subclass.

      179. Plaintiffs Hajny and Villalobos and the California Subclass seek relief

under Cal. Bus. & Prof. Code § 17200, et seq., including, but not limited to,

restitution to Plaintiffs Hajny and Villalobos and the California Subclass members

of money or property that Defendants may have acquired by means of their unlawful

business practices, restitutionary disgorgement of all profits accruing to Defendants




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because of their unlawful business practices, declaratory relief, attorneys’ fees and

costs, and injunctive or other equitable relief.

                                  COUNT 9
             Violation of California’s Unfair Competition Law,
      Cal. Bus. & Prof. Code § 17200, et seq.—Unfair Business Practices
                    (On behalf of the California Subclass)
                          (Against All Defendants)

      180. Plaintiffs incorporate by reference the allegations from paragraphs 1

through 99 as though fully set forth herein.

      181. Plaintiffs Hajny and Villalobos bring this claim against Defendants on

behalf of themselves and the California Subclass.

      182. Defendants engaged in unfair acts and practices with respect to the

services they provide by establishing the sub-standard security practices and

procedures described herein; by soliciting and collecting the PII Plaintiffs Hajny and

Villalobos and the California Subclass members with knowledge that the

information would not be adequately protected; and by storing the PII Plaintiffs

Hajny and Villalobos and the California Subclass members in an unsecure electronic

environment. These unfair acts and practices were immoral, unethical, oppressive,

unscrupulous, unconscionable, and/or substantially injurious to Plaintiffs Hajny and

Villalobos and the California Class members. They were likely to deceive the public

into believing their PII was securely stored, when it was not. The harm these




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practices caused to Plaintiffs Hajny and Villalobos and the California Subclass

members outweighed their utility, if any.

      183. Defendants engaged in unfair acts and practices with respect to the

provision of services by failing to take proper action following the Data Breach to

enact adequate privacy and security measures and protect the PII of Plaintiffs and

the California Subclass from further unauthorized disclosure, release, data breaches,

and theft. These unfair acts and practices were immoral, unethical, oppressive,

unscrupulous, unconscionable, and/or substantially injurious to Plaintiffs Hajny and

Villalobos and the California Subclass. They were likely to deceive the public into

believing their PII were securely stored when they were not. The harm these

practices caused to Plaintiffs Hajny and Villalobos and the California Subclass

members outweighed their utility, if any.

      184. As a direct and proximate result of Defendants’ acts of unfair practices,

Plaintiffs Hajny and Villalobos and the California Subclass members were injured

and lost money or property, including but not limited to the price received by

Defendants for the services, the loss of Plaintiffs Hajny’s and Villalobos’ and the

California Subclass member’s legally protected interest in the confidentiality and

privacy of their PII, nominal damages, and additional losses as described above.

      185. Defendants knew or should have known that their data security

practices were inadequate to safeguard the PII of Plaintiffs Hajny and Villalobos and


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the California Subclass and that the risk of a data breach or theft was highly likely.

Defendants’ actions in engaging in the above-named unlawful practices and acts

were negligent, knowing and willful, and/or wanton and reckless with respect to the

rights of Plaintiffs Hajny and Villalobos and the California Subclass.

      186. Plaintiffs Hajny and Villalobos and the California Subclass seek relief

under Cal. Bus. & Prof. Code § 17200, et seq., including, but not limited to,

restitution to Plaintiffs Hajny and Villalobos and the California Subclass of money

or property that the Defendants may have acquired by means of their unfair business

practices, restitutionary disgorgement of all profits accruing to Defendants because

of their unfair business practices, declaratory relief, attorneys’ fees and costs, and

injunctive or other equitable relief.

                                  COUNT 10
              Breach of Contracts to which Plaintiffs and the Class
                         are Third Party Beneficiaries
             (On behalf of the Nationwide Class and all Subclasses)
                       (Against Defendant Shift Digital)

      187. Plaintiffs incorporate by reference the allegations from paragraphs 1

through 99 as though fully set forth herein.

      188. Plaintiffs bring this claim against Defendant Shift Digital on behalf of

themselves, the Nationwide Class, and the Florida and California Subclasses.

      189. At all times relevant, Defendant Shift Digital had express or implied

contracts or agreements with several automobile manufacturers and dealers,


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including Defendants VWoA and Audi, to provide secure data and records

management, retention, retrieval, and storage for marketing purposes.

      190. Plaintiffs and the members of the Class are intended third party

beneficiaries of contracts entered into between Defendant Shift Digital and these

manufacturers, dealers, and other business entities because their PII is a subject of

the contracts and Defendant Shift Digital agreed to keep it secure as a part of

providing data and records management, retention, retrieval, and storage to its

customers

      191. Defendant Shift Digital breached these contracts by failing to provide

secure or adequate data storage services, resulting in the Data Breach and the theft

and misuse of the PII of Plaintiffs and the Class by unauthorized third persons.

      192. Plaintiffs and the members of the Class have a right to recovery for the

breach because one or more of the parties to these contracts intended to give

Plaintiffs and the Class members the benefit of the performance promised in the

contracts.

      193. As a direct and proximate result of Defendant Shift Digital’s breaches

of these contracts, Plaintiffs and the Class members suffered the injuries as described

in detail above.




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                                   COUNT 11
        Violation of Florida’s Deceptive and Unfair Trade Practices Act
                           Fla. Stat. § 501.201, et seq.
                       (On behalf of the Florida Subclass)
                     (Against Defendants VWoA and Audi)
      194. Plaintiffs incorporate by reference paragraphs 1 through 99 as though

fully set forth herein.

      195. Plaintiff Adams brings this claim against Defendants VWoA and Audi

on behalf of himself and the Florida Subclass.

      196. Defendants VWoA and Audi advertised, offered, or sold goods or

services in Florida and engaged in commerce affecting Florida residents, including

Plaintiff Adams and members of the Florida Subclass.

      197. Plaintiff Adams and the members of the Florida Subclass are consumers

as defined in the FDUTPA, Fla. Stat. § 501.203.

      198. Defendants VWoA and Audi engaged in unfair, unconscionable, and

deceptive acts and practices in violation of the FDUTPA, Fla. Stat. § 501.203,

including: (1) failing to identify foreseeable risks to the security and privacy of

Plaintiff Adams’ and the Florida Subclass’ PII, failure to fix or correct the identified

security and privacy risks, failing to bring its data security and privacy practices up

to industry standards or the standards required by law despite the known threats to

the security of PII; (2) failing to implement reasonable security measures to protect

the PII of Plaintiff Adams and members of the Florida Subclass; (3) failing to comply


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with industry standards for data security and failing to meet the requirements and

duties for data security established by law, including those set forth in the FTC Act

and Florida’s data security statute, Fla. Stat. § 501.171(2); deceptively representing,

either through affirmative misrepresentation or omission, that VWoA and Audi

would comply with industry standards and legal duties relating to data security and

retention even though VWoA and Audi did not comply with such measures and

duties, including those identified above, and did not adequately secure Plaintiff

Adams’ and the Florida Subclass members’ PII.

      199. VWoA’s and Audi’s misrepresentations and omissions were material

because they were reasonably likely to deceive reasonable consumers about the

adequacy of VWoA’s and Audi’s data security measures and compliance with laws

and standards relating to that data security.

      200. Plaintiff Adams and members of the Florida Subclass acted reasonably

in relying on the misrepresentations and omissions of Defendants VWoA and Audi

and could not reasonably have uncovered the falsity of those misrepresentations and

omissions.

      201. The above-listed unfair, unconscionable, and deceptive acts and

practices in violation of the FDUTPA were the direct and proximate cause of the

Data Breach and the injuries suffered by the Plaintiff Adams and members of the

Florida Subclass, as detailed previously.


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      202. Had VWoA and Audi disclosed to the Plaintiff Adams and members of

the Florida Subclass that their PII would not be kept secure and would be subject to

theft, the Plaintiff Adams and members of the Florida Subclass would not have

provided their PII to VWoA and Audi.

      203. Plaintiff Adams and the Florida Subclass seek all monetary and

equitable relief allowed by law, including actual or nominal damages under Fla. Stat.

§ 501.211, declaratory and injunctive relief, attorneys’ fees and costs pursuant to

Fla. Stat. § 501.2105(1), and any other relief available under the FUDTPA.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, individually, and on behalf of all others similarly

situated, respectfully request that the Court enter an order:

      a.     Certifying the proposed Class as requested herein;

      b.     Appointing Plaintiffs as Class Representatives and undersigned counsel

             as Class Counsel;

      c.     Finding that Defendants engaged in the unlawful conduct as alleged

             herein;

      d.     Enjoining Defendants’ conduct and requiring Defendants to implement

             proper data security policies and practices; specifically:

            i.      prohibiting Defendants from engaging in the wrongful and

                    unlawful acts described herein;


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   ii.    requiring Defendants to protect, including through encryption,

          all data collected through the course of their businesses in

          accordance with all applicable regulations, industry standards,

          and federal, state, or local laws;

  iii.    requiring Defendants to delete, destroy, and purge the PII of

          Plaintiffs and the Class members unless Defendants can provide

          to the Court reasonable justification for the retention and use of

          such information when weighed against the privacy interests of

          Plaintiffs and the Class members;

  iv.     requiring   Defendants      to   implement     and    maintain    a

          comprehensive Information Security Program designed to

          protect the confidentiality and integrity of the Plaintiffs’ and the

          Class members’ PII;

   v.     prohibiting Defendants from maintaining Plaintiffs’ and the

          Class members’ PII on a cloud-based database;

  vi.     requiring Defendants to engage independent third-party security

          auditors/penetration testers as well as internal security personnel

          to conduct testing, including simulated attacks, penetration tests,

          and audits on Defendants’ systems on a periodic basis, and

          ordering Defendants to promptly correct any problems or issues


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          detected by such third-party security auditors;

  vii.    requiring Defendants to engage independent third-party security

          auditors and internal personnel to run automated security

          monitoring;

 viii.    requiring Defendants to audit, test, and train their security

          personnel regarding any new or modified procedures;

  ix.     requiring Defendants to segment data by, among other things,

          creating firewalls and access controls so that if one area of

          Defendants’ network is compromised, hackers cannot gain

          access to other portions of Defendants’ systems;

   x.     requiring Defendants to conduct regular database scanning and

          security checks;

  xi.     requiring Defendants to establish an information security

          training program that includes at least annual information

          security training for all employees, with additional training to be

          provided as appropriate based upon the employees’ respective

          responsibilities with handling PII, as well as protecting the PII of

          Plaintiffs and the Class members;

  xii.    requiring Defendants to routinely and continually conduct

          internal training and education, and on an annual basis to inform


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          internal security personnel how to identify and contain a breach

          when it occurs and what to do in response to a breach;

 xiii.    requiring Defendants to implement a system of tests to assess its

          respective employees’ knowledge of the education programs

          discussed in the preceding subparagraphs, as well as randomly

          and   periodically   testing   employees’      compliance   with

          Defendants’ policies, programs, and systems for protecting PII;

 xiv.     requiring Defendants to implement, maintain, regularly review,

          and revise as necessary a threat management program designed

          to appropriately monitor Defendants’ information networks for

          threats, both internal and external, and assess whether

          monitoring tools are appropriately configured, tested, and

          updated;

  xv.     requiring Defendants to meaningfully educate all Class members

          about the threats that they face as a result of the loss of their

          confidential PII to third parties, as well as the steps affected

          individuals must take to protect themselves;

 xvi.     requiring Defendants to implement logging and monitoring

          programs sufficient to track traffic to and from Defendants’

          servers;


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     xvii.     for a period of 10 years, appointing a qualified and independent

               third-party assessor to conduct a SOC 2 Type 2 attestation on an

               annual basis to evaluate Defendants’ compliance with the terms

               of the Court’s final judgment, to provide such report to the Court

               and to Class Counsel, and to report any deficiencies with

               compliance of the Court’s final judgment;

 xviii.        requiring Defendants to design, maintain, and test their computer

               systems to ensure that PII in their possession is adequately

               secured and protected;

     xix.      requiring Defendants to disclose any future data breaches in a

               timely and accurate manner;

      xx.      requiring Defendants to implement multi-factor authentication

               requirements;

     xxi.      requiring Defendants’ employees to change their passwords on a

               timely and regular basis, consistent with best practices; and

     xxii.     requiring Defendants to provide lifetime credit monitoring and

               identity theft repair services to Class members.

e.       Awarding Plaintiffs and Class members damages, including statutory

         damages;

f.       Awarding Plaintiffs and Class members pre-judgment and post-


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              judgment interest on all amounts awarded;

       g.     Awarding Plaintiffs and the Class members reasonable attorneys’ fees,

              costs, and expenses; and

       h.     Granting such other relief as the Court deems just and proper.

                            DEMAND FOR JURY TRIAL

       Plaintiffs, on behalf of themselves and the proposed Class, hereby demand a

trial by jury as to all matters so triable.

Dated: October 14, 2021                 WOLF HALDENSTEIN ADLER
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